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 8
     Attorneys for Defendants
 9 CITY OF SAN RAMON
10
                               UNITED STATE DISTRICT COURT
11
                        NORTHERN DISTRICT OF CALIFORNIA
12

13
     PHANTOM LS RECORDS, LLC, and                 Case No. 3:21-cv-05787-EMC
14
     SUMANTE J HUTCHINSON,
15
                  Plaintiff,
16                                                DEFENDANT CITY OF SAN
                                                  RAMON ANSWER TO
17 vs.                                            PLAINTIFFS’ AMENDED
                                                  COMPLAINT
18
   STATE OF CALIFORNIA
19 UNVERSTY OF SANTA CRUZ,
   KAISER PERMANENTE, CITY OF                     Complaint filed: April 28, 2021
20
   SAN RAMON, REDWOOD CITY,                       Trial date: Not applicable
21 SAN MATEO,

22
                  Defendants.
23

24          COMES NOW Defendant, CITY OF SAN RAMON in answer to Plaintiffs
25 PHANTOM LS RECORDS, LLC, and SUMANTE J HUTCHINSON’S Amended

26 Complaint for damages hereby admit, deny, and allege as follows:

27                               JURISDICTION AND VENUE
28          San Ramon admits that this court has jurisdiction to hear plaintiff’s claims.
                                       1
           DEFENDANT CITY OF SAN RAMON ANSWER TO PLAINTIFFS’ AMENDED
                                   COMPLAINT
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 1 San Ramon further admits that venue is proper. San Ramon denies that any unlawful

 2 acts or practices occurred. As to all other allegations, San Ramon lacks sufficient

 3 information and belief upon which to base an answer, and, for that reason, denies

 4 generally and specifically the other allegations contained therein.

 5                                          FACTS
 6        Answering the STATEMENT OF FACTS of the First Amended Complaint,
 7 San Ramon lacks sufficient information and belief upon which to base an answer,

 8 and for that reason, denies generally and specifically the allegations contained

 9 therein.
10                           SECOND CAUSE OF ACTION
11        Answering the SECOND CAUSE OF ACTION of the First Amended
12 Complaint, San Ramon lacks sufficient information and belief upon which to base

13 an answer, and for that reason, denies generally and specifically the allegations

14 contained therein.

15                                AFFIRMATIVE DEFENSES
16        AS A FIRST AFFIRMATIVE DEFENSE to the Complaint, and each alleged
17 cause of action thereof, this answering Defendant allege that said Complaint fails to

18 state a claim upon which relief can be granted.

19        AS A SECOND AFFIRMATIVE DEFENSE to the Complaint, and each
20 alleged cause of action thereof, this answering Defendant allege that the injuries and

21 damages Plaintiff complains of, if any, resulted from the acts and/or omissions of

22 others, and without any fault on the part of this answering Defendant.

23        AS A THIRD AFFIRMATIVE DEFENSE to the Complaint, and each alleged
24 cause of action thereof, this answering Defendant alleges that its actions taken were

25 undertaken in good faith and with the reasonable belief that said actions were valid,

26 necessary and constitutionally proper.

27        AS A FOURTH AFFIRMATIVE DEFENSE to the Complaint, and each
28 alleged cause of action thereof, this answering Defendant allege that its acts were
                                              2
        DEFENDANT CITY OF SAN RAMON ANSWER TO PLAINTIFFS’ AMENDED
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 1 privileged under applicable statutes and case law.

 2        AS A FIFTH AFFIRMATIVE DEFENSE to the Complaint, and each alleged
 3 cause of action thereof, this answering Defendant alleges that plaintiff has failed to

 4 allege and/or has not stated facts sufficient to show an affirmative link between

 5 defendant and the acts which allegedly violated Plaintiff’s rights.

 6        AS A SIXTH AFFIRMATIVE DEFENSE to the Complaint, and each alleged
 7 cause of action thereof, this answering Defendant alleges that Plaintiff failed to

 8 mitigate his damages, if any.

 9        AS A SEVENTH AFFIRMATIVE DEFENSE to the Complaint, and each
10 alleged cause of action thereof, this answering Defendant alleges that plaintiff’s

11 Complaint is barred by the applicable Statute of Limitations.

12        AS AN EIGHTH AFFIRMATIVE DEFENSE to the Complaint, and each
13 alleged cause of action thereof, this answering Defendant alleges that the Complaint

14 is barred by the equitable doctrine of laches.

15        AS A NINTH AFFIRMATIVE DEFENSE to the Complaint, and each alleged
16 cause of action thereof, this answering Defendant alleges that the Complaint is

17 barred by the equitable doctrine of unclean hands.

18        AS A TENTH AFFIRMATIVE DEFENSE to the Complaint, and each
19 alleged cause of action thereof, this answering Defendant alleges that the Complaint

20 is barred by the equitable doctrine of estoppel.

21        AS AN ELEVENTH AFFIRMATIVE DEFENSE to the Complaint, and each
22 alleged cause of action thereof, this answering Defendant alleges that plaintiff has

23 waived his rights to bring this action against them.

24        AS A TWELFTH AFFIRMATIVE DEFENSE to the Complaint, and each
25 alleged cause of action thereof, this answering Defendant alleges that Plaintiff at all

26 times had actual and/or constructive knowledge of the circumstances upon which

27 plaintiff’s Complaint is based. Plaintiff expressly accepted those circumstances and

28 thereby ratified the conduct of which Plaintiff complains.
                                              3
        DEFENDANT CITY OF SAN RAMON ANSWER TO PLAINTIFFS’ AMENDED
                                        COMPLAINT
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 1        AS A THIRTEENTH AFFIRMATIVE DEFENSE to the Complaint, and each
 2 alleged cause of action thereof, this answering Defendant alleges that the

 3 Complained of conduct is privileged under California Civil Code §47 and applicable

 4 case law.

 5        AS A FOURTEENTH AFFIRMATIVE DEFENSE to the Complaint, and
 6 each alleged cause of action thereof, this answering Defendant alleges that any

 7 damages sustained by plaintiff were either fully or in part the fault of others,

 8 whether that fault be the proximate result of negligence, strict liability, breach of

 9 warranty, breach of contract, or any other type of fault caused by persons, firms,
10 corporations or entities, other than this answering Defendant, and that said

11 negligence or fault comparatively reduces the percentage of fault or negligence, if

12 any, by this answering Defendant.

13        AS A FIFTEENTH AFFIRMATIVE DEFENSE to the Complaint, and each
14 alleged cause of action thereof, this answering Defendant alleges that plaintiff was

15 himself careless and negligent in and about the matters alleged in the Complaint and

16 that said carelessness and negligence on plaintiff’s own part proximately contributed

17 to plaintiff’s loss and damage, if any there were. Under the doctrine of Li v. Yellow

18 Cab (1975) 532 P.2d 1226, 119 Cal.Rptr. 858, plaintiff’s contributory negligence

19 shall reduce any and all damages sustained by said plaintiffs.

20         AS A SIXTEENTH AFFIRMATIVE DEFENSE to the Complaint, and each
21 alleged cause of action thereof, this answering Defendant alleges that plaintiff was

22 actively negligent in and about the matters alleged in the Complaint and are thereby

23 barred from any recovery.

24        AS A SEVENTEENTH AFFIRMATIVE DEFENSE to the Complaint, and
25 each alleged cause of action thereof, this answering Defendant is informed and

26 believes and thereon alleges that plaintiff, with full appreciation of the particular

27 risks involved, nevertheless knowingly and voluntarily assumed the risks and

28 hazards of the incident complained of and the damages, if any, resulting therefrom.
                                             4
        DEFENDANT CITY OF SAN RAMON ANSWER TO PLAINTIFFS’ AMENDED
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 1         AS AN EIGHTEENTH AFFIRMATIVE DEFENSE to the Complaint,
 2 Defendant is informed and believe and thereon allege that Defendants are immune,

 3 and its conduct privileged under California Government Code §800 et. seq.,

 4 including, but not limited to Sections 815, 820.2, 820.4, 820.6 and 844.6.

 5         AS A NINETEENTH AFFIRMATIVE DEFENSE to the Complaint,
 6 Defendant is informed and believe and thereon allege that Defendant’s conduct was

 7 not motivated by evil motive or intent, nor reckless or callous indifference to the

 8 rights of others, thus punitive damages are not awardable against Defendants.

 9         AS A TWENTIETH AFFIRMATIVE DEFENSE to the Complaint,
10 Defendants is informed and believes and thereon alleges that Defendant is entitled to

11 a qualified immunity because Defendant did not violate clearly established statutory

12 or constitutional rights of which a reasonable person would have been aware.

13         AS A TWENTY-FIRST AFFIRMATIVE DEFENSE to the Complaint,
14 Defendant is informed and believe and thereon allege that Defendant CITY OF SAN

15 RAMON, a public entity, did not commit a constitutional violation against plaintiff,

16 caused by a policy, custom, or practice.

17         AS A TWENTY-SECOND AFFIRMATIVE DEFENSE to the Complaint,
18 Defendant is informed and believes and thereon alleges that Defendant’s employees

19 are not liable for any alleged injuries sustained by plaintiff, as his alleged acts or

20 omissions were committed in the execution or enforcement of the law, while

21 exercising due care. (California Government Code §820.4)

22         AS A TWENTY-THIRD AFFIRMATIVE DEFENSE to the Complaint,
23 Defendant is informed and believes and thereon alleges that plaintiff failed to

24 exhaust his administrative remedies including, but not limited to, those pursuant to

25 Government Code §900 through §935, et seq.

26         AS A TWENTY-FOURTH, SEPARATE AND AFFIRMATIVE DEFENSE
27 TO THE COMPLAINT, AND EACH ALLEGED CAUSE OF ACTION

28 THEREOF this answering Defendant alleges that plaintiff failed to file a claim
                                         5
      DEFENDANT CITY OF SAN RAMON ANSWER TO PLAINTIFFS’ AMENDED
                                  COMPLAINT
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 1 pursuant to the California Tort Claims Act.

 2        AS A TWENTY FIFTH AFFIRMATIVE DEFENSE, Defendant is informed
 3 and believes and thereon alleges that plaintiff’s claims are barred by the applicable

 4 statute of limitations.

 5        AS A TWENTY-SIXTH AFFIRMATIVE DEFENSE to the Complaint,
 6 Defendant is informed and believes and thereon alleges that Defendant CITY OF

 7 SAN RAMON, which is a public entity, did not commit a constitutional violation

 8 against Plaintiff caused by a policy, custom, or practice.

 9        AS A TWENTY-SEVENTH AFFIRMATIVE DEFENSE, Defendant alleges
10 that the actions undertaken by the officers were objectively reasonable given the

11 totality of the circumstances.

12        AS A TWENTY-EIGHTH, SEPARATE AND AFFIRMATIVE DEFENSE
13 TO THE COMPLAINT, AND EACH ALLEGED CAUSE OF ACTION

14 THEREOF this answering Defendant alleges that no actions or omissions by

15 Defendant were the result of retaliatory intent.

16        AS A TWENTY-NINTH, SEPARATE AND AFFIRMATIVE DEFENSE TO
17 THE COMPLAINT, AND EACH ALLEGED CAUSE OF ACTION THEREOF

18 this answering Defendant alleges that the individual Defendant, CITY OF SAN

19 RAMON, its employees or agents, pursuant to Government Code Section 815.2, are

20 entitled to immunity from the Plaintiff by virtue of the provisions of the

21 Government Code of the State of California, Sections 800 through 1000, including

22 but not limited to Section 820.2, 820.4, 820.6, 820.8, 821, 821.6, 822.2, 830 et seq.,

23 830.4, 830.8 and 845.8.

24        WHEREFORE, this answering Defendant prays that Plaintiff take nothing by
25 way of his unverified Complaint, that Defendant has judgment for costs of suit

26 incurred, herein, together with such other and further relief as the court may deem just

27 and proper.

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                                     6
         DEFENDANT CITY OF SAN RAMON ANSWER TO PLAINTIFFS’ AMENDED
                                 COMPLAINT
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 1       Defendant CITY OF SAN RAMON demands a jury trial.
 2

 3

 4

 5 Dated: April 12, 2022                 CLAPP,  MORONEY,             VUCINICH,
                                         BEEMAN and SCHELEY
 6

 7

 8                                       By:
 9                                             JEFFREY M. VUCINICH, ESQ.
                                               SHERRETT O. WALKER, ESQ.
10                                             Attorneys for Defendant
11                                              CITY OF SAN RAMON
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        DEFENDANT CITY OF SAN RAMON ANSWER TO PLAINTIFFS’ AMENDED
                                COMPLAINT
